               Case 5:22-mj-00344-DUTY Document 1 Filed 05/27/22 Page 1 of 23 Page ID #:1
AO 91 (Rev. 11/11) Criminal Complaint


               LODGED
        CLERK, U.S. DISTRICT COURT                   UNITED STATES DISTRICT COURT                                                                  FILED
                                                                                                                                         CLERK, U.S. DISTRICT COURT



        5/27/2022                                                              for the                                                         5/27/22
     CENTRAL DISTRICT OF CALIFORNIA


                                                                   Central District
                                                                 __________         of of
                                                                             District  California
                                                                                          __________
      BY: ____________
                   RAM ______ DEPUTY

                                                                                                                                                 D.C.
                                                                                                                                       CENTRAL DISTRICT OF CALIFORNIA
                                                                                                                                         BY: ___________________ DEPUTY




                               United States of America                           )
                                          v.                                      )
                                                                                  )      Case No.
                                     Angel Rene Mendoza                           )                 5:22-MJ-00344
                                                                                  )
                                                                                  )
                                                                                  )
                                         Defendant(s)


    CRIMINAL COMPLAINT

             I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                                   May 26, 2022                in the county of            Los Angeles                         in the
      Central                          District of           California       , the defendant(s) violated:

                    Code Section                                                            Offense Description
21 U.S.C. §§ 841(a)(1), (b)(1)(A)                              Distributing at least 50 grams of methamphetamine.
(viii); and
18 U.S.C. § 924(c)                                             Possessing a firearm in furtherance of, and carrying a firearm during and in
                                                               relation to, a drug trafficking crime.




             This criminal complaint is based on these facts:
See attached affidavit.




              ✔ Continued on the attached sheet.

                                                                                         /s/ Pursuant to Fed. R. Crim. P. 4.1
                                                                                                             Complainant’s signature

                                                                                                       Dylan B. Kirker, Special Agent
                                                                                                              Printed name and title




Date:           May 27, 2022
                                                                                                                Judge’s signature

City and state:                                      Riverside, California                   Honorable Shashi H. Kewalramani, Mag. Judge
                                                                                                              Printed name and title

John Balla, (951) 276-6246
Case 5:22-mj-00344-DUTY Document 1 Filed 05/27/22 Page 2 of 23 Page ID #:2



                               AFFIDAVIT

I, Dylan B. Kirker, being duly sworn, declare and state as
follows:

                       I. PURPOSE OF AFFIDAVIT
           This affidavit is made in support of an application

for a criminal complaint against Angel Rene MENDOZA for
violations of 21 U.S.C. §§ 841(a)(1), (b)(1)(A)(viii)
(distributing at least 50 grams of methamphetamine), and
18 U.S.C. § 924(c) (possessing a firearm in furtherance of, and
carrying a firearm during and in relation to, a drug trafficking
crime).
           The facts set forth in this affidavit are based upon

my personal observations, my training and experience, my review
of official reports, and information obtained from various law
enforcement personnel and witnesses.       This affidavit is intended
to show merely that there is sufficient probable cause for the
requested complaint, and it does not purport to set forth all
of my knowledge of or investigation into this matter.          Unless
specifically indicated otherwise, all conversations and
statements described in this affidavit are related in substance
and in part only.

                      II. BACKGROUND OF AFFIANT
           I am a Special Agent (“SA”) with the Bureau of

Alcohol, Tobacco, Firearms and Explosives (“ATF”), and have been
so employed since October 2020.      I am a graduate of the Federal
Law Enforcement Training Center Criminal Investigator Training
Program as well as the ATF Special Agent Basic Training Program.
Case 5:22-mj-00344-DUTY Document 1 Filed 05/27/22 Page 3 of 23 Page ID #:3



As a SA, I have received training in federal firearms and

narcotics laws and regulations.      I regularly refer to these laws

and regulations during the course of my duties and I have

experience investigating these crimes.       I am also familiar with

how digital devices are used to facilitate and conceal firearms

and drug trafficking.    Prior to working for the ATF, I was

employed as a Border Patrol Agent with the United States Border

Patrol.   I received a Bachelor of Arts degree in Business

Administration from the University of Maine at Presque Isle.           I

am currently assigned to the ATF Los Angeles Group One,

California Field Office.

                  III. STATEMENT OF PROBABLE CAUSE
           On May 24, 2022, I obtained a criminal complaint and

arrest warrant for Christopher Sebastian QUEZADAS, signed by the

Honorable Sheri Pym, United States Magistrate Judge for the

Central District of California.      I have attached my affidavit in

support of the criminal complaint here as Exhibit 1, and I

incorporate it here by reference.

     A.    Ninth Controlled Purchase of Methamphetamine and
           Firearms on May 26, 2022

           ATF set up a final controlled buy of methamphetamine

and firearms to take place on May 26, 2022, at which time agents

planned to arrest QUEZADAS on his outstanding warrant.          On May

25, 2022, QUEZADAS sent the UC a text message.         QUEZADAS wrote,

“I have in my hands, 30 Windows @750, 20 ghosts at $1250, Colt

revolver @1800, Smith & Wesson @1400.”       In my training and

experience, “windows” is slang for methamphetamine.         The UC



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Case 5:22-mj-00344-DUTY Document 1 Filed 05/27/22 Page 4 of 23 Page ID #:4



replied to QUEZADAS, “Ima get that full ticket for sure 100 lmk

abt the 1911 but the other stuff is locked big dawg.”          QUEZADAS

text messaged the UC, “Where are we meeting at tomorrow. Long

Beach?”    The UC replied, “Not gonna be able to g, we gonna b in

LA all tom.”    The UC and QUEZADAS then decided to meet at a

location 1 in North Hollywood on May 26, 2022, to conduct the
transaction.

            On May 26, 2022, I listened to a recorded call between

QUEZADAS and the UC in which QUEZADAS said that his boy with the

“windows” would be bringing them down from Glendale.

            Later on May 26, in advance of the scheduled deal,

other law enforcement and I set up surveillance around the

predetermined deal location and around QUEZADAS’s home in Long

Beach.    Law enforcement saw QUEZADAS leave his home in a white

Mercedes-Benz sedan before other law enforcement saw him arrive

at the deal location in the same vehicle.

            While conducting surveillance at the deal location, I

saw a man that we later identified as MENDOZA exit a white

Toyota Camry that he drove, remove two large bags (black handbag

and a green and black bag), approach QUEZADAS’s vehicle, place

the bags inside QUEZADAS’s vehicle, and get inside.         QUEZADAS

stopped next to a red Chevrolet Corvette occupied by two

individuals, later identified as J.D.L. and J.A.O.         QUEZADAS had

a discussion with the driver of the vehicle.        QUEZADAS and




     1 The location is a law-enforcement-controlled building with
covert audio and video surveillance throughout.

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Case 5:22-mj-00344-DUTY Document 1 Filed 05/27/22 Page 5 of 23 Page ID #:5



MENDOZA entered the building of the deal location by driving

QUEZADAS’s vehicle through a roll-up garage door.
           QUEZADAS and MENDOZA were greeted by three UCs inside

the building.   QUEZADAS took one of the bags out of the car and

MENDOZA took out the other, they carried them into another room

in the building, and they set them down.        The UCs then asked to

weigh the methamphetamine and removed the bundles of suspected

methamphetamine 2 from the bags.     One of the UCs weighed out the

suspected methamphetamine, and it totaled approximately 30

pounds.   QUEZADAS told the UC that once the drug transaction was

completed, they could handle the firearms transaction.          QUEZADAS

said that the guns were outside in a vehicle.

           At that point, law enforcement approached and arrested

QUEZADAS and MENDOZA.    QUEZADAS and MENDOZA were both searched

incident to arrest.     MENDOZA had a handgun in each of his front

short’s pockets.    One of the firearms on MENDOZA was loaded with

ammunition.

           LAPD Task Force Officers were the outside perimeter

team, and they contacted J.D.L. and J.A.O.        J.D.L. was in the

driver’s seat of the vehicle and J.A.O. was contacted on the

sidewalk approximately 300 feet from where J.D.L. parked.

J.D.L. had a handgun sitting in plain view on the driver’s seat

when the LAPD Task Force Officer contacted him.         From the




     2 We have not field-tested the methamphetamine, but the
purported deal was supposed to involve methamphetamine.
Further, I have examined the bundles, and, in my training and
experience, they appear consistent with methamphetamine.

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Case 5:22-mj-00344-DUTY Document 1 Filed 05/27/22 Page 6 of 23 Page ID #:6



information provided by QUEZADAS, the vehicle was searched, and

it contained twenty-one firearms that we seized.

                             IV. CONCLUSION
          Based on the foregoing, there is probable cause to

believe that MENDOZA has committed violations of 21 U.S.C.

§§ 841(a)(1), (b)(1)(A)(viii) (distributing at least 50 grams of

methamphetamine) and 18 U.S.C. § 924(c) (possessing a firearm in

furtherance of, and carrying a firearm during and in relation

to, a drug trafficking crime).

Attested to by the applicant in
accordance with the requirements
of Fed. R. Crim. P. 4.1 by
telephone on this ____
                   27th day of May,
2022.



UNITED STATES MAGISTRATE JUDGE




                                    5
Case 5:22-mj-00344-DUTY Document 1 Filed 05/27/22 Page 7 of 23 Page ID #:7




                         EXHIBIT
                            1
              Case 5:22-mj-00344-DUTY Document 1 Filed 05/27/22 Page 8 of 23 Page ID #:8
 AO 91 (Rev. 11/11) Criminal Complaint (Rev. by USAO on 3/12/20)               Original       Duplicate Original

          LODGED
  CLERK, U.S. DISTRICT COURT          UNITED STATES DISTRICT COURT
   05/24/2022                                               for the
CENTRAL DISTRICT OF CALIFORNIA
              AP
 BY: ____________ ______ DEPUTY
                                                                                                              5/24/2022
                                                Central District of California
                                                                                                                   KC


   UNITED STATES OF AMERICA,

                         v.
                                                                      Case No. 5:22-mj-00319
   CHRISTOPHER SEBASTIAN QUEZADAS,

                         Defendant.


                                   CRIMINAL COMPLAINT BY TELEPHONE
                                  OR OTHER RELIABLE ELECTRONIC MEANS
             I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

 On or about the dates listed in the attached affidavit, in the counties of Riverside and Los Angeles in the Central

 District of California, the defendant violated:

                Code Section                                          Offense Description

                21 U.S.C. §§ 841(a)(1), (b)(1)(A)(viii), and          See attached affidavit
                18 U.S.C. §§ 922(a)(1)(A), (g)(1), and (o)

             This criminal complaint is based on these facts:

              Please see attached affidavit.

                 Continued on the attached sheet.



                                                                                     Complainant’s signature

                                                                             ATF Special Agent Dylan B. Kirker
                                                                                      Printed name and title
   Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
                                                                                             y telephone.

   Date:
                                                                                          Judge’s signature

   City and state: Riverside, California                                Honorable Sheri Pym, U.S. Magistrate Judge
                                                                                      Printed name and title

 AUSA: John A. Balla (951-276-6246)
Case 5:22-mj-00344-DUTY Document 1 Filed 05/27/22 Page 9 of 23 Page ID #:9



                               AFFIDAVIT
I, Dylan B. Kirker, being duly sworn, declare and state as

follows:

                       I. PURPOSE OF AFFIDAVIT

           This affidavit is made in support of an application

for a criminal complaint against and arrest warrant for

Christopher Sebastian QUEZADAS for violations of 21 U.S.C.

§§ 841(a)(1), (b)(1)(A)(viii) (distributing at least 50 grams of

methamphetamine), and 18 U.S.C. §§ 922(a)(1)(A) (dealing
firearms without a license), 922(g)(1) (felon in possession of a

firearm and ammunition), and 922(o) (possession of a

machinegun).

           The facts set forth in this affidavit are based upon

my personal observations, my training and experience, my review

of official reports, and information obtained from various law

enforcement personnel and witnesses.       This affidavit is intended

to show merely that there is sufficient probable cause for the

requested complaint, arrest warrant, and search warrants, and it

does not purport to set forth all of my knowledge of or
investigation into this matter.      Unless specifically indicated

otherwise, all conversations and statements described in this

affidavit are related in substance and in part only.

                      II. BACKGROUND OF AFFIANT

           I am a Special Agent (“SA”) with the Bureau of

Alcohol, Tobacco, Firearms and Explosives (“ATF”), and have been

so employed since October 2020.      I am a graduate of the Federal

Law Enforcement Training Center Criminal Investigator Training
Case 5:22-mj-00344-DUTY Document 1 Filed 05/27/22 Page 10 of 23 Page ID #:10



Program as well as the ATF Special Agent Basic Training Program.

As a SA, I have received training in federal firearms and

narcotics laws and regulations.       I regularly refer to these laws

and regulations during the course of my duties and I have

experience investigating these crimes.        I am also familiar with

how digital devices are used to facilitate and conceal firearms

and drug trafficking.     Prior to working for the ATF, I was

employed as a Border Patrol Agent with the United States Border

Patrol.    I received a Bachelor of Arts degree in Business
Administration from the University of Maine at Presque Isle.            I

am currently assigned to the ATF Los Angeles Group One,

California Field Office.

                   III. STATEMENT OF PROBABLE CAUSE
      A.    Cooperating Defendant Introduces QUEZADAS to an ATF
            Undercover Agent

            On February 2, 2022, ATF SA Timothy Holden and I

interviewed an ATF investigative target turned confidential

informant (the “CI”), and he/she told law enforcement that the

CI’s source of gun supply was a person he/she knew as “Fifty”
(later identified as QUEZADAS) who resides in Long Beach,

California.

            On February 2, 2022, at my direction, the CI contacted

QUEZADAS by telephone to try to set up a transaction and

introduce QUEZADAS to an undercover agent (the “UC”).           The

number that QUEZADAS used was 562-507-7348, and I later learned

from subscriber records that the phone number is subscribed to

by QUEZADAS.



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Case 5:22-mj-00344-DUTY Document 1 Filed 05/27/22 Page 11 of 23 Page ID #:11



             On February 2, 2022, on a recorded phone call between

the CI and QUEZADAS, which I have listened to, the CI and

QUEZADAS discussed what types of firearms QUEZADAS had for sale.

QUEZADAS then sent to the CI messages via Instagram, which I

have reviewed.    In some of those messages, QUEZADAS sent the CI

pictures of firearms.     QUEZADAS provided prices for each

firearm, writing, “Glock 43x- 1300, Glock 43x- 1300, Glock 43x-

1300, Glock 19- 1300, Automatic shotgun- 1700, Khar 45- 1200,

and All black Smith & Wesson- 1300.”

              On February 3, 2022, at my direction, the CI sent a

message to QUEZADAS indicating that the “buyer,” who was

actually the UC, would purchase all seven of the offered

firearms and suggesting a meeting place to complete the

transaction.    The transaction for the firearms was set to take

place on February 7, 2022.

             On February 6, 2022, at my direction, the CI contacted

QUEZADAS via Instagram direct message to discuss the firearms

transaction planned for the next day.        I have reviewed the
Instagram conversation.      In it, QUEZADAS wrote that the guns

intended for sale had been seized during a law enforcement raid

the prior night, but QUEZADAS offered to sell replacement guns.

QUEZADAS then sent several photographs of firearms via

Instagram.    QUEZADAS then gave the prices for the firearms,

making clear that he and the CI should take a portion of the

profit.   QUEZADAS wrote, “357. For 1100 to us. Ruger .40 = 1000

us -1200 to them.”     QUEZADAS also wrote, “Yo this sig can’t be




                                     3
Case 5:22-mj-00344-DUTY Document 1 Filed 05/27/22 Page 12 of 23 Page ID #:12



brought down in time cause it’s in moreno but I got this MP for

1200 to us.”    He went on, “Glocks 13 us – 15 to them.”

      B.   First Controlled Purchase of Firearms on February 7,
           2022
           On February 7, 2022, QUEZADAS and the CI continued to

exchange Instagram messages and participate in recorded phone

calls discussing the upcoming transaction using the same phone

number that QUEZADAS had been using above.         The UC and the CI

met QUEZADAS at a parking lot in Cerritos, California, where

QUEZADAS sold the UC three firearms in exchange for $3,900.

From my review of the UC’s recording devices that he/she wore

during the purchase, my presence on surveillance, and my

discussions with the UC, I know that during the transaction,

QUEZADAS told the UC his telephone number (562-507-7348) so that

they could meet for future drug and gun transactions.




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Case 5:22-mj-00344-DUTY Document 1 Filed 05/27/22 Page 13 of 23 Page ID #:13



This image is a cropped picture taken after the controlled

purchase.

      C.    Second Controlled Purchase of Firearms on February 16,
            2022
            On February 9, 2022, the UC sent QUEZADAS a text

message asking whether he had any firearms for sale.          QUEZADAS

indicated that he did and sent three pictures of firearms.           I

have reviewed these photographs, and, based on my training and

experience, I believe the photographs depicted Rock Island 1911
pistols.    In subsequent messages, QUEZADAS agreed to sell to the

UC a Scar rifle, a 1911 pistol, two “micro” AR-15 type rifles,

two Glock pistols, and 400 rounds of 9mm ammunition in a

transaction planned for February 16, 2022.

            On February 16, 2022, QUEZADAS met with the UC and

another person QUEZADAS thought was a gun customer but who was,

in fact, an additional ATF SA acting undercover, at a parking lot

in Cerritos.    There, QUEZADAS sold two suspected machine guns, a

Taurus pistol, a Ruger pistol, three Rock Island 1911 pistols,

and approximately 200 rounds of 9mm ammunition to the UC in

exchange for $11,950.     From my review of the UC’s recording

devices he/she wore during the purchase, my presence on

surveillance, and my discussions with the UC, I know that during

the recorded transaction, QUEZADAS told the UC that QUEZADAS

could get approximately 20 more of the Rock Island 1911 pistols

if the UC was interested.

            A firearms enforcement officer with the ATF Firearms

Technology Criminal Branch (“FTCB”), trained and experienced in



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Case 5:22-mj-00344-DUTY Document 1 Filed 05/27/22 Page 14 of 23 Page ID #:14



examining the way in which firearms function, tested, and

examined the suspected machineguns from the February 16

purchase.   He issued a report stating that he test-fired the

suspected machineguns.      He determined that the machineguns shoot

automatically more than one shot, without manual reloading, by a

single function of the trigger and utilizes the receiver of such

a weapon.




This image is a cropped picture taken after the controlled

purchase.

      D.    Third Controlled Purchase of Firearms on February 18,
            2022
            From February 16, 2022, to February 18, 2022, the UC

sent text messages to QUEZADAS to facilitate another firearms

transaction to take place on February 18, 2022.          QUEZADAS


                                     6
Case 5:22-mj-00344-DUTY Document 1 Filed 05/27/22 Page 15 of 23 Page ID #:15



offered thirteen handguns to the UC.        The UC met QUEZADAS at a

parking lot in Cerritos where QUEZADAS sold to the UC twelve

firearms in exchange for $17,550.




This image is a cropped picture taken after the controlled
purchase.

      E.    Fourth Controlled Purchase of Firearms on February 24,
            2022

            On February 20, 2022, QUEZADAS contacted the UC via

text message and informed the UC that “4 fully are available

still.”    Based on my knowledge of firearms, my training and

experience, and my involvement in this investigation, I know




                                     7
Case 5:22-mj-00344-DUTY Document 1 Filed 05/27/22 Page 16 of 23 Page ID #:16



that “fully” is street vernacular for a fully automatic

machinegun.
             On February 21, 2022, QUEZADAS sent the UC a picture

of what he represented were “4 fully’s” from his telephone (562-

507-7348).    The UC asked QUEZADAS if the items in the picture

were the correct firearms.      QUEZADAS stated, “Yea without the

basket and laser.”     These text messages led to a controlled

purchase on February 24, 2022.       On that date, QUEZADAS sold the

UC four suspected AR-type machine guns, three handguns, and

thirteen rounds of assorted ammunition in exchange for $14,500.

This transaction took place in Riverside, California.

             A firearms enforcement officer with FTCB tested and

examined the suspected machineguns from the February 16

purchase.    He issued a report stating that he test-fired the

suspected machineguns.      He determined that the machineguns shoot

automatically more than one shot, without manual reloading, by a

single function of the trigger and utilizes the receiver of such

a weapon.




                                     8
Case 5:22-mj-00344-DUTY Document 1 Filed 05/27/22 Page 17 of 23 Page ID #:17




This image is a cropped picture taken after the controlled

purchase.

                                     9
Case 5:22-mj-00344-DUTY Document 1 Filed 05/27/22 Page 18 of 23 Page ID #:18



      F.    Fifth Controlled Purchase of Firearms on March 2, 2022
            On March 1, 2022, the UC sent QUEZADAS a text message

confirming the firearms that the UC would buy on the next deal.

The UC sent a text message stating, “Bereta – 1200, Revolver –

1300, Five 1911 – 1600 each, Good?”        QUEZADAS replied via text

message to the UC and wrote, “Good.”        These text messages led to

a controlled purchase on March 2, 2022.        On that date, QUEZADAS

sold to the UC one handgun in exchange for $1,600.          The

transaction took place in Riverside.




This image is a cropped picture taken after the controlled

purchase.




                                    10
Case 5:22-mj-00344-DUTY Document 1 Filed 05/27/22 Page 19 of 23 Page ID #:19



       G.    Sixth Controlled Purchase of Firearms on March 17,
             2022
             On March 11, 2022, QUEZADAS sent the UC a text

message.    QUEZADAS stated, “So what’s the list looking like.”

The UC replied “ak n a p.”        Based on my knowledge of firearms,

my training and experience, and my involvement in this

investigation, I know that “ak” is street vernacular for an AK-

47 style rifle. I also know that “p” is street vernacular for a

pound of narcotics.      QUEZADAS replied to the UC via text

message, “Ak n a p and the 5 1911?”         The UC responded to

QUEZADAS, “yes all.”      These text messages led to the controlled

purchase on March 17, 2022, in which QUEZADAS sold to the UC one

rifle, four handguns, and approximately 86 rounds of ammunition

in exchange for $9,200.      This transaction took place in

Riverside.




This   image   is   a   cropped   picture   taken   after   the   controlled

purchase.


                                     11
Case 5:22-mj-00344-DUTY Document 1 Filed 05/27/22 Page 20 of 23 Page ID #:20



      H.     Seventh Controlled Purchase of Methamphetamine on
             March 24, 2022
             On March 21, 2022, QUEZADAS sent the UC a text

message.     QUEZADAS wrote, “Yo any special requests our guys are

out on a run picking guns up they’re asking if I want any more

1911 lol.”    The UC replied, “imma ask my g one sec. The older kat

Jay said fuk ya.”     QUEZADAS replied to the UC, “How many does he

want lol? 10.”    QUEZADAS sent the UC a text message stating, “N

yo I already bought the windows and blues I put it up.”           Based on
my knowledge of firearms, my training and experience, and my

involvement in this investigation, I know that “windows” is

street vernacular for methamphetamine.         I also know that “blues”

is street vernacular for fentanyl pills.         The UC responded to

QUEZADAS, “perfect.”     These text messages led to the controlled

purchase on March 24, 2022, in which QUEZADA sold to the UC

approximately one pound of suspected methamphetamine.           Although

the deal was supposed to involve both methamphetamine and

fentanyl, QUEZADAS arrived at the deal and said that he could

only obtain the methamphetamine.         DEA laboratory analysis showed




                                    12
Case 5:22-mj-00344-DUTY Document 1 Filed 05/27/22 Page 21 of 23 Page ID #:21



that it contained 424 grams of pure methamphetamine.          This

transaction took place in Cerritos.




These images are cropped pictures taken after the controlled

purchase.

      I.     QUEZADAS’s Identification and Records Checks

             I had a DEA Special Agent request subscriber
information for the telephone number (562) 507-7348, and the
records showed that the phone number is registered to
“Christopher Quezada” and is a current active wireless number
associated with the T-Mobile USA telephone company.
             I then searched databases and found prior booking

photographs and drivers license photographs of QUEZADAS through
Cal-Photo.    I compared those photographs to photographs of the
person involved in all of the controlled purchases above as
well as my memory of the person from my own surveillance
                              , and I determined that they were the
same person.
                                    13
Case 5:22-mj-00344-DUTY Document 1 Filed 05/27/22 Page 22 of 23 Page ID #:22



             Additionally, during one of the recorded phone calls

with the UC on April 19, 2022, QUEZADAS mentioned that his

birthday was the preceding Friday.        I compared that date to the

birthday listed on QUEZADAS’s DMV records and prior conviction

records, and it was the same (April 15).

             I had an ATF Industry Operations Investigator

Specialist query QUEZADAS through the Federal Licensing System,

and there was no identifiable record for QUEZADAS ever having a

federal license to deal firearms.

             During records checks of QUEZADAS, I learned that he

was a convicted felon.      I obtained certified court records

showing that he was convicted of violating California Health &

Safety Code Section 11370.1(a), possession of cocaine while

armed, in the Superior Court of the State of California, County

of Los Angeles, case number NA109772, on or about August 23,

2018.    He received a suspended sentence with three years’

probation imposed, but the court documents show that he was

advised of the maximum possible penalty, 4 years’ imprisonment,

multiple times during the proceedings.        For example, the
statutory penalty was listed on the complaint, and the complaint

itself referred to the crime of which he was convicted as a

felony.

        J.   Interstate Nexus

             An ATF Interstate Nexus Expert, trained and

experienced in determining the manufacturing origin of firearms

and ammunition, examined the firearms and ammunition purchased

in this case.    He determined that all of the ammunition and many


                                    14
Case 5:22-mj-00344-DUTY Document 1 Filed 05/27/22 Page 23 of 23 Page ID #:23



of the firearms purchased in this case were manufactured outside

the State of California.      Many of the firearms were also “ghost

guns” for which he could not determine the place of manufacture.

                              IV. CONCLUSION
           Based on the foregoing, there is probable cause to

believe that QUEZADAS has committed violations of 21 U.S.C.

§§ 841(a)(1), (b)(1)(A)(viii) (distributing at least 50 grams of

methamphetamine), and 18 U.S.C. §§ 922(a)(1)(A) (dealing

firearms without a license), 922(g)(1) (felon in possession of a
firearm and ammunition), and 922(o) (possession of a

machinegun).

Attested to by the applicant in
accordance with the requirements
of Fed. R. Crim. P. 4.1 by
telephone on this ____ day of May,
2022.




UNITED STATES MAGISTRATE JUDGE




                                    15
